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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF LAURA NALLY
PALO ALTO, et al.,                    (AMICA CENTER) IN SUPPORT OF
              Plaintiffs,             PLAINTIFFS’ MOTION FOR A
                                      TEMPORARY RESTRAINING ORDER
     v.                               AND PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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                  DECLARATION OF LAURA NALLY,
  PROGRAM DIRECTOR FOR THE CHILDREN’S PROGRAM AT AMICA CENTER
 FOR IMMIGRANT RIGHTS (FORMERLY CAPITAL AREA IMMIGRANTS’ RIGHTS
                        (“CAIR”) COALITION)


I, Laura Nally, make the following statements on behalf of Amica Center for Immigrant Rights. I
certify under penalty of perjury that the following statements are true and correct pursuant to 28
U.S.C. § 1746.

1.     My name is Laura Nally, and I am the Program Director overseeing the Children’s Program
       at Amica Center for Immigrant Rights (“Amica Center”), formerly known as the Capital
       Area Immigrants’ Rights (“CAIR”) Coalition. Amica Center is a Washington, D.C.-based
       nonprofit legal services organization that strives to ensure equal justice for all indigent
       immigrant men, women, and children at risk of detention and deportation in the
       Washington, D.C. area and beyond, through providing pro bono legal services and
       representation. I am an attorney licensed in Virginia and the District of Columbia and have
       been practicing immigration law for more than 15 years. I joined the Children’s Program
       at Amica Center in August 2019.

2.     Amica Center operates three main programs: the Detained Adult Program (“DAP”), the
       Children’s Program (“DUCs” or the “Children’s Program”), and the Immigration Impact
       Lab. DUCs’ work specifically focuses on offering legal services and representation to
       unaccompanied immigrant children held by the Office of Refugee Resettlement (“ORR”)
       at ORR-subcontracted facilities, including shelter and foster care programs, as well as
       children in ORR Unaccompanied Refugee Minor (“ORR URM”) programs in the greater
       Washington, D.C. and Baltimore areas.
3.     Since 2010, Amica Center’s Children’s Program has worked to serve children detained in
       ORR programs throughout the Capital region, including shelters, long-term foster care
       (“LTFC”) programs, and transitional foster care programs. Our staff provide legal services
       to children in ORR custody across eight ORR-subcontracted facilities throughout Virginia,
       Maryland, and Washington, D.C. While the populations at each shelter fluctuate, the funded
       capacity across all the ORR-subcontracted facilities at which Amica Center provides
       services is 310 beds. Amica Center provides direct legal representation to some children in
       the care of the above-listed ORR programs, as well as all children who are released from
       one of those programs to a sponsor residing within our geographic area of service
       (“geozone”). Amica Center’s geozone currently includes Washington, D.C.; Prince
       William County and Manassas City, Virginia; and Baltimore City and County, Maryland.
       We also provide representation to all children in an LTFC program in Virginia and ORR
       URM programs in Washington, D.C.; Fairfax, Virginia; and Richmond, Virginia.



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4.    To provide these services, Amica Center’s Children’s Program now has 33 full-time and 4
      part-time staff members. Specifically, the Children’s Program employs a program director,
      deputy program director, three managing attorneys, one supervising attorney, five senior
      attorneys, six staff attorneys, one Immigrant Justice Corps (“IJC”) Attorney Fellow, two
      contract attorneys, two managing paralegals, four senior paralegals, seven paralegals, one
      senior program associate, and three social services staff members. Several additional
      positions are currently vacant due to challenges hiring qualified attorneys in a climate of
      funding uncertainty. We rely on funding from the U.S. Department of Health and Human
      Services (“HHS”), distributed to us through the Acacia Center for Justice as sub-contractor,
      to fund over 96% of our program.

5.    Children’s Program staff work to provide legal support, direct representation, and social
      services to unaccompanied immigrant children who are currently or have been released
      from ORR custody at juvenile facilities in Washington, D.C., Virginia, and Maryland. Our
      goals are to educate children about their rights and their legal options while in ORR
      custody, ensure that their needs are being met and their rights respected, and to represent
      children in pursuing any immigration relief or applications for which they may be eligible.
6.    This work has two principal work components: (1) providing legally-required “Know Your
      Rights” presentations to children held in ORR-subcontracted facilities; conducting age-
      appropriate and trauma-informed one-on-one legal screenings for eligibility for
      immigration relief; referring children reunified outside of our geozone to other legal service
      providers; and preparing and accompanying all detained unaccompanied children in our
      geozone to their court appearances; and (2) providing in-house direct legal representation
      to unaccompanied children in immigration court, before federal agencies, and in state court
      to pursue immigration relief and applications, as well as referring cases to and mentoring
      pro-bono attorneys.

7.    To deliver KYR, legal screening, and other non-representational services, Amica Center
      staff travel in person to each ORR-subcontracted facility on a weekly basis. In calendar
      year 2024, we provided “Know Your Rights” trainings and intakes to nearly 1,600 children
      in more than 20 languages. In 2023, our team developed a specialized KYR presentation
      using cartoon animals to provide age-appropriate services to tender age (under 12) children.
      Amica Center utilizes a weekly visit model to ensure that all children receive these initial
      services within 10 days of their arrival in ORR custody. Depending on the children’s
      language needs, multiple Know Your Rights presentations may be provided on any given
      day. Most children do not understand why they are being held in government custody, that
      they will be placed in removal proceedings, or that legal protections exist for children under
      U.S. immigration law. Our staff are trained not only to break down complex information
      and topics in age- and culturally-appropriate ways, but to utilize active engagement
      strategies to ensure that children are fully engaged and focused on the material and able to
      ask questions. Children then immediately receive a legal screening with a staff member

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       trained in trauma-informed and child-friendly interviewing. It is not uncommon for a legal
       screening to take place over multiple meetings if a child is too emotionally overwhelmed
       to tell their story or needs time to build trust before recounting traumatic events.

8.     The Children’s Program also provides a crucial suite of nonrepresentational services
       including court preparation, courtroom assistance and accompaniment, and legal referrals.
       When a child in an ORR-subcontracted facility is scheduled for an appearance in
       immigration court, we meet individually with the child to explain what to expect in court
       and then appear alongside the child as “Friend of the Court” to share information and
       updates with the immigration court such as the child’s expected reunification location. We
       also help children with matters related to their placement and rights within the ORR system.
       When a child is expected to remain in ORR custody until their 18th birthday, we have
       assisted the ORR-subcontracted facility staff to identify suitable post-18 placements such
       as transitional housing programs for young adults and liaised with the Immigration and
       Customs Enforcement (“ICE”) Field Office Juvenile Coordinator to advocate for the
       child’s release to a community-based program rather than transfer to ICE detention. When
       we identify a child to be a potential victim of trafficking, we refer them to the Office on
       Trafficking in Persons (“OTIP”) for a determination of eligibility for benefits and services
       under federal law.

9.     Amica Center staff offer full legal representation to children in the ORR-subcontracted
       facilities we serve who do not have a viable ORR sponsor, who are placed into an LTFC
       program, who wish to return to their home countries, whose immigration proceedings
       advance to a point where they are expected to make substantive decisions about their legal
       case, and who are confirmed to be reunifying into our geozone to ensure continuity of legal
       services. We also initiate representation for particularly vulnerable children, including
       victims of trafficking, children who have experienced abuse or neglect in custody, or
       children who have been placed in restrictive settings or out-of-network placements.
10.    Between March 30, 2024, and March 20, 2025, we initiated representation with 192
       children in ORR-subcontracted facilities and ORR URM programs. Children’s Program
       attorneys represent unaccompanied children in removal proceedings before the Hyattsville,
       Baltimore, Annandale, and Sterling Immigration Courts and the Board of Immigration
       Appeals (“BIA”). DUCs staff also represent children in applications with U.S. Citizen and
       Immigration Services (“USCIS”) including asylum, Special Immigrant Juvenile Status
       (“SIJS”), family-based and humanitarian (U and T) visas, Temporary Protected Status
       (“TPS”) and self-petitions under the Violence Against Women Act (“VAWA”). In addition
       to providing direct legal services, Amica Center staff also work to recruit, train, and
       supervise teams of pro bono attorneys who represent unaccompanied children in
       immigration proceedings and applications for immigration status. These pro bono attorneys
       are a critical part of Amica Center’s mission and model which allows us to leverage


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       volunteer legal services to more efficiently represent children. Approximately 15% of cases
       currently open with the Children’s Program are placed with pro bono attorneys.

11.    Amica Center’s Children’s Program has continuously received HHS funding since 2015.
       We currently have more than 850 open cases that were initiated and continuously funded
       through HHS funding. Children released to sponsors or transitional living programs live
       throughout the Washington, D.C. and Baltimore, MD metropolitan areas, including in the
       suburbs of Virginia and Maryland. Specific bar licensure is required to represent children
       in SIJS cases in each of the three jurisdictions where we practice, and this affects how case
       assignments are made among our attorneys. Due to the significant backlogs in state courts,
       USCIS, and the immigration courts, children’s immigration cases often take years to
       resolve before an eligible child is granted asylum, a U or T visa, or lawful permanent
       residence.
12.    The need for legal representation and other support services for unaccompanied children—
       especially those in government custody and those facing deportation—is truly critical.
       Immigration law and procedures are incredibly complex and becoming more so every day.
       The overwhelming majority of unaccompanied children that we encounter in ORR-
       subcontracted facilities do not have the means to pay for a qualified private immigration
       attorney to represent them. ORR-subcontracted facilities are often located in rural areas
       where there are limited or no pro bono resources. For example, one of the ORR-
       subcontracted facilities that we serve is located approximately two hours away from
       Washington, D.C., the closest metropolitan area, by car and far from any other potential
       service providers.

13.    It is even more obvious that children cannot represent themselves effectively in removal
       proceedings. The children with whom we work range in age from infants to 17 years old.
       Most have limited formal education and have experienced some form of trauma. To explain
       the concept of an adversarial court proceeding to children during our KYR presentations,
       we use the metaphor of a soccer game. The judge is the referee, the child is on one team,
       and the government is on the other team. If the government has a trained professional on
       their team (most children suggest Messi or Ronaldo), we explain, it is very important that
       they have a trained professional—their own lawyer—to be on their team. Without one, we
       already know who will win.

14.    In our experience, other government stakeholders including immigration judges, ORR-
       subcontracted facility staff, and the DHS Office of the Principal Legal Advisor (“OPLA”)
       attorneys also prefer and appreciate when an unaccompanied child is represented by
       counsel. We frequently appear as Friend of Court to relay important updates regarding a
       child’s reunification to OPLA and the immigration court and to coordinate appropriate
       changes of address and changes of venue. ORR-subcontracted facility staff often have
       questions for us about the logistics for children’s appearances in court. Immigration judges

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       have sometimes requested that we enter appearances for children if the judge has doubts
       about the child’s competency or understanding of their legal options. We also play a critical
       role in identifying and referring children for appointment of a Child Advocate. For children
       who are reunifying outside of our geozone, we provide legal referrals, either directly to
       another Acacia Center network provider or by providing a list of potential pro bono or low-
       cost resources directly to the child and sponsor. Because capacity for free and low-cost
       representation is overstretched in most areas, however, these resources can be very difficult
       to access.

15.    Without warning, on February 18, 2025, HHS (through the U.S. Department of the Interior)
       issued a Stop Work Order for Legal Services for Unaccompanied Children, effective
       immediately, which extended to “all activities” under the contract. Attached hereto
       as Exhibit 1 is a true and correct copy of the Stop Work Order, dated February 18, 2025.
       Without further elaboration as to duration or reasoning, the Stop Work Order stated that it
       “shall remain in place until you are notified otherwise” and “is being implemented due to
       causes outside of your control and should not be misconstrued as an indication for poor
       performance.” Ex. 1 at 1. HHS then rescinded the Stop Work Order without explanation on
       February 21, 2025. Attached hereto as Exhibit 2 is a true and correct copy of the Stop Work
       Order Recission, dated February 21, 2025.

16.    The chilling effect of the February Stop Work Order has had lasting effects on the
       Children’s Program. Two staff members, including one Senior Paralegal and one IJC
       Attorney Fellow, have accepted employment with private immigration firms and cited as
       the deciding factor the job insecurity generated by doubts about the security of our HHS
       funding. This climate of uncertainty has also had a chilling effect on hiring qualified
       attorney candidates to fill existing vacancies, which in turn increases the caseloads of
       existing staff and has a negative effect on morale and retention.

17.    On March 21, 2025, again without warning, HHS (through the Department of the Interior)
       announced that it was partially terminating its contract with the Acacia Center for Justice
       to provide Legal Services for Unaccompanied Children, effective immediately, for two of
       the three Contract Line Item Numbers (“CLINs”) under which we are currently funded:
       CLIN 2, Legal representation for unaccompanied children, as well as other non-
       representation services such as referrals and data tracking; and CLIN 3, which funds
       Immigrant Justice Corps fellows to represent unaccompanied children separately from
       those represented through CLIN 2. Attached hereto as Exhibit 3 is a true and correct copy
       of the Notice of Partial Contract Termination, dated March 21, 2025. Only CLIN 1,
       covering KYR presentations and legal services for children in ORR-subcontracted
       facilities, was not impacted by the partial contract termination. Ex. 3 at 1.

18.    Our program was notified of the Partial Termination via an email from the Acacia Center
       for Justice shortly after 11 AM on March 21. We called a teamwide meeting several minutes

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       later to share the news with staff and answer their questions. Although our staff are
       understandably concerned about their job security and their ability to obtain future
       employment due to the sweeping expanse of the cuts to funded legal representation for
       children, their overwhelming response was to look for solutions for how to continue to
       represent the clients who trust and rely on us for their legal cases.

19.    The abrupt termination of CLIN 2 funding for representation and associated services
       represents a loss of approximately 30% of Amica Center’s total annual budget and 75% of
       the budget for the Children’s Program. Amica Center has not yet set a timeline by which
       decisions would need to be made regarding staff layoffs or the discontinuation of any major
       aspects of our work. However, all work on cases where representation was undertaken
       during the preceding 10 years of HHS funding through the Acacia Center for Justice is now
       being funded using general operating funds. The organization has taken this position due
       to our ongoing ethical obligations to our clients and to preserve our ability to continue
       providing high-quality representation to those clients by minimizing the loss of qualified
       staff members. Amica Center cannot continue to fund this casework using general
       operating funds indefinitely. We are urgently seeking funding from other sources, but the
       collective impact of a nationwide shutdown is so great that the gap cannot be filled by
       private donors. To the extent that cases initiated under HHS funding could be transferred
       to funding streams held by other Amica Center programs (for example, state or local
       funding currently being used for adult representation), this would interfere with Amica
       Center’s mission to maximize representation for indigent immigration men, women, and
       children at risk for detention and deportation by directly supplanting the organization’s
       ability to represent other affected individuals.

20.    The alternative—to immediately withdraw from representation in our 850 affected cases—
       is antithetical to our ethical obligations as attorneys and our values as a mission-driven
       organization. In many of the open legal cases for our child clients, there are upcoming
       hearings or deadlines which mean that withdrawing from the case would not be possible.
       Across the Children’s Program, we have six clients scheduled for hearings with local
       immigration courts between March 24 and March 27. Not only is it nearly logistically
       impossible to withdraw from an immigration matter in that time frame, since withdrawal
       requires leave of the immigration judge, it is also impossible to do so without prejudicing
       the client’s legal interests. We have dozens of open matters pending with state courts for
       children who are eligible for SIJS. In addition to upcoming hearings, there are ongoing
       time-sensitive legal requirements in those cases, including service of process on opposing
       parties, requests for orders of default, and other procedural requirements that, if not timely
       completed, could lead to dismissal or significant delay. Pro bono attorneys are heavily
       reliant on mentorship from experienced in-house immigration attorneys and at risk of
       committing errors or omissions in their cases without mentorship.



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21.    Although KYR presentations and legal screenings remain funded for now through CLIN
       1, significant, interrelated pieces of our work have been terminated, the consequences of
       which are immediate and severe. For example, if a child at one of the ORR-subcontracted
       facilities we serve is identified as having an urgent legal need such as an outstanding
       removal order, Amica Center—the only legal provider with access to the ORR-
       subcontracted facility—would not be funded to provide the necessary legal service to
       protect the child from imminent removal. Many children who enter ORR custody with prior
       removal orders are eligible to have their immigration court proceedings reopened, but
       doing so requires filing a motion as quickly as possible, something which children simply
       cannot do without the help of an experienced attorney. Similarly, without timely access to
       competent legal services, older children are at risk of losing access to protections based on
       their age. A 17-year-11-month-old child who has been severely abused by their parent(s),
       for example, is eligible under federal law to petition for Special Immigrant Juvenile Status
       until age 21. In Virginia, however, the Juvenile and Domestic Relations (“JDR”) court,
       must make the necessary findings of fact regarding eligibility, must obtain jurisdiction
       before the child turns 18. Without access to legal representation who can initiate the
       necessary proceedings before the child’s 18th birthday, that child’s right and ability to seek
       protection through SIJS is functionally eliminated.

22.    One of the children currently represented by the Children’s Program is a four-year-old boy
       from Haiti, referred to here as “Jean.” He is currently in an ORR URM program living with
       foster parents in Virginia. Jean entered the United States shortly after he turned three years
       old and was placed in ORR custody. After it was determined that there were no viable
       sponsors for him in the United States, Jean was released from custody to an ORR URM
       program served by Amica Center. Amica Center coordinated with the HHS-funded legal
       provider which had been working with him at his ORR placement to transfer his legal case
       and substitute counsel on all of his pending matters to avoid an interruption in
       representation. Jean has a TPS application pending, is eligible for SIJS and is in removal
       proceedings. SIJS findings for Jean would be made through his open foster care proceeding
       in Virginia, and he is scheduled for a hearing on April 2, 2025. His Amica Center attorney
       has been working to prepare the necessary motion and proposed order in advance to ensure
       that the matter can be heard at the upcoming hearing. Jean is also scheduled for a Master
       Calendar Hearing in early June at which it is obvious that he could neither engage with the
       proceeding nor provide relevant updates to the court regarding his other pending legal
       matters to the court other than through counsel.

23.    The interruption and subsequent termination of funding for representation and
       nonrepresentational services to unaccompanied children has already frustrated Amica
       Center’s mission and threatened the sustainability of our work. Providing a legal screening
       without the ability to refer a child for long-term representation, connect them to benefits



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       and services for victims of trafficking, or prepare and accompany them to court,
       fundamentally restricts the efficacy of that legal orientation and screening.

24.    The Children’s Program has invested significant resources over recent years in reducing
       employee turnover and building institutional expertise in the provision of the services that
       were abruptly terminated. Most of our managing attorneys began their legal careers at
       Amica Center and have worked on our team for more than 5 years. We have built strong
       relationships with local and national stakeholders, significant expertise in ORR policy and
       procedures and the provision of specialized services for unaccompanied children, and the
       necessary internal and administrative systems to ensure compliance with all aspects of
       HHS contractual requirements.

25.    If the Children’s Program were forced to lay off staff due to sudden and unexpected
       termination of funding, it would be a drain on our organizational expertise in the delivery
       of legal representation and other services to the unaccompanied immigrant children held
       in ORR custody. The collective experience of our specialized staff would be nearly
       impossible to recover and would hobble our ability to deliver high-quality services to
       unaccompanied children in ORR custody in the Capital region, even if funding were
       restored to similar levels in the future. The level of investment required to hire and train
       new staff, fellows, volunteers, or interns would divert significant director and manager time
       and resources from the continued provision of representation to existing clients and have a
       lasting impact on the morale and retention of supervisors and managers. My own time over
       the past month has been overwhelmingly diverted from essential case supervision and legal
       guidance in a rapidly changing area of immigration practice, to responding to threats to our
       funding and program stability.

26.    The continued funding of this work is critical to ensuring that children do not experience
       irreparable harm to their ability to access legal protections in the United States. Children
       who have spent months and years building trust and rapport with an attorney or legal
       advocate will be faced with the prospect of navigating a complicated and increasingly
       hostile legal system alone or urgently seeking out either the few remaining low-cost
       resources for representation in this space or the resources to pay for private counsel,
       reliving and recounting some of their most personal and traumatic experiences with a
       stranger.



I declare under penalty of perjury that the foregoing is true and correct.


Executed on the 25 of March 2025, in Alexandria, Virginia.



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_______________________________

Laura Nally
Director, Detained Children’s Program
Amica Center for Immigrant Rights
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Washington, D.C. 20036
P: (202) 916-8179
laura@amicacenter.org




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      Exhibit
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      Exhibit
        2
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      Exhibit
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                          United States Department of the Interior
                                       INTERIOR BUSINESS CENTER
                                           Washington, DC 20240



                                                                                     March 25, 2025

To:
              Acacia Center for Justice
              1025 Connecticut Avenue NW
              Suite 1000A
              Washington, DC 20036

Subject:      Notice of Partial Termination for the Government’s Convenience

Contract 140D0422C0009, awarded on March 29, 2022, by the United States Department of the
Interior (DOI), Interior Business Center (IBC), Acquisition Services Directorate (AQD) on behalf of
the Department of Health and Human Services (HHS), Administration for Children and Families
(ACF), Office Refugee Resettlement (ORR) as a part of our Interagency Agreement for acquisition
services, is hereby partially terminated for the Government’s convenience. Contract Line Items
(CLINs) 2 – Direct Representation, 3 – Recruitment, and 4 – Direct Representation Expansion are
terminated for the Government’s convenience.

In accordance with FAR 52.212-4 Contract Terms and Conditions – Commercial Items (Alternate I)
(Nov 2021) – (l) Termination for the Government’s convenience

“(l) Termination for the Government's convenience. The Government reserves the right to terminate
this contract, or any part hereof, for its sole convenience. In the event of such termination, the
Contractor shall immediately stop all work hereunder and shall immediately cause any and all of its
suppliers and subcontractors to cease work. Subject to the terms of this contract, the Contractor
shall be paid an amount for direct labor hours (as defined in the Schedule of the contract)
determined by multiplying the number of direct labor hours expended before the effective date
of termination by the hourly rate(s) in the contract, less any hourly rate payments already
made to the Contractor plus reasonable charges the Contractor can demonstrate to the
satisfaction of the Government using its standard record keeping system that have resulted
from the termination. The Contractor shall not be required to comply with the cost accounting
standards or contract cost principles for this purpose. This paragraph does not give the Government
any right to audit the Contractor's records. The Contractor shall not be paid for any work performed
or costs incurred that reasonably could have been avoided.” Emphasis added.

*Recovery for any unpaid Firm-Fixed-Price work would be subject to the non-Alternate I version of
FAR 52.212-4(l).

You are hereby notified to immediately stop work on CLINs 2, 3, and 4 and that effective close of
business March 21, 2025, the Contracting Officer is terminating CLINs 2, 3, and 4 on Contract
140D022C0009 for the Government’s convenience in accordance with FAR 52.212-4 (l)
(Alternate I) for T&M work and paragraph (l) of the non-Alternate I version of FAR 52.212-4(l) for
any Firm-Fixed-Price effort or products. CLIN 1 – Know Your Rights and Legal Screenings shall
remain in full force and effect.
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As defined in 44 U.S.C. § 3301, any Federal records created, received, or maintained by Acacia
Center for Justice, or its subcontractors, pursuant to this ACF contract, are due back to the ORR No
Later Than (NLT) 30 days from this notice. ACF owns the rights to all data and records produced as
part of this order. Acacia Center for Justice. is notified that any deliverables under the contract not
specifically called out in this memo, are the property of the U.S. Government and are expected to be
included in the records turnover NLT 30 days from this notice.

Any deliverables under CLINs 2, 3, and 4 that are scheduled for delivery after March 21, 2025, are
hereby terminated for the Government’s convenience in their entirety. Timely response to this request
will be reflected in the CPARS evaluation. Additionally, the Government will ensure to include a
narrative to explain the termination was not due to fault of the contractor.

Should you wish to submit a termination settlement proposal, the final shall be submitted to the
Contracting Officer as promptly as possible, but no later than forty-five (45) calendar days six-
months from March 21, 2025. However, if after considering the costs incurred and the costs
previously paid by the Government, Acacia Center for Justice determines a no-cost settlement is in
the company’s best interest, please contact the undersigned Contracting Officer.

Please acknowledge receipt of this notice, as provided below.


                                                                             3/25/2025
                                                                             ___________________________
                                                                             Date




Acknowledgment of Notice

The undersigned hereby acknowledges receipt of this notice. The Contractor must promptly return
one signed pdf version of this notice to the Contracting Officer at                             .


                      Digitally signed by
                      Date: 2025.03.25 17:31:03 -04'00'                      3/25/25
___________________________________                                          ___________________________
Acacia Center for Justice                                                    Date
1025 Connecticut Avenue NW
Suite 1000A
Washington, DC 20036




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